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COMP '
NlK sKRlNJARlc, Eso. . FILED " §
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ttorney for Plaintitt @‘$§¢;~,»;,T dc ,_(;]
NEVADA TlTLE COMPANY 9" /""‘w~ `

DlSTRlCT COURT
CLARK COUNTY, NEVADA

NEVADA TlTLE COMPANY, a Nevada
corporation,

P|aintiff,

vs. §§§?A@é

LONN|E CHR|STENSEN, an individual; .
LONN|E CHR|STENSEN, lNC., a l
permanently revoked Nevada \@/
corporation; PlONEER ClTlZENS BAN )
OF NEVADA as successor to NEVADAE§

 

STATE BANK, a Nevada corporation,
UNITED STATES lNTERNAL REVENU )
SERV|CE; LARRY L. BERTSCH, Court
Agpointed Trustee for Lonnie C.
C ristensen
Arbitration Exempt:
Defendants. Equitable Relief
Statutory Relief

 

 

COMPLA|NT lN lNTERPLEADER
PLA|NT|FF NEVADA TlTLE COMPANY, a Nevada corporation (hereinafter
“NTC”), by and through its attorney, NlK SKRINJAR|C, ESQ., for its Complaint against
said Defendants, alleges as follows:
|.

FlRST CLA|M FOR REL|EF
1. NTC at all times mentioned was, and is, a corporation duly authorized and

existing under and by virtue of the laws of the State of Nevada, and is authorized to do

business as a title and escrow agent in the County of Clark, State ot Nevada.

 

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2. NTC is informed and believes, and on such information and belief alle.ges,

that Defendant LONNIE CHRlSTENSEN (“CHR|STENSEN”) at all times was, and is, an
individual residing in Clark County in the State of Nevada.

3. NTC is informed and believes, and on such information and belief alleges,
that Defendant LONN|E CHR|STENSEN, lNC. (“LC|”) is a permanently revoked Nevada
corporation.

4. NTC is informed and believes, and on such information and belief alleges,
that Defendant PlONEER ClTlZENS BANK is the successor to NEVADA STATE BANK
and that the two entities were merged on October 14, 1999. NEVADA STATE BANK
(“NSB”) is a Nevada corporation conducting business within Clark County in the state of
Nevada.

5. NTC is informed and believes, and on such information and belief alleges,
that Defendant UNlTED STATES lNTERNAL REVENUE SERV|CE (“lRS”) is a
government entity.

6. NTC is informed and believes, and on such information and belief alleges,
that Defendant LARRY L. BERTSCH is the Court Appointed Trustee for Lonnie C.
Christensen in Federal District Court Case no. CR-S-95-074-LDG.

7. On or about October 7, 1998 NTC acted as the escrow agent for escrow
number 98-09-0829 JH. ln connection with said transaction, Defendant LCl sold real
property bearing APN# 162-30-701-020, commonly known as 5353 South Valley View
Boulevard, Las Vegas, Nevada (“PROPERTY”) to Arthur Goldstrom and/or his
assignees The transaction closed on October 7, 1998. A copy of the escrow

instructions are attached hereto as Exhibit 1.

 

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8. Defendant LCl was in an active bankruptcy action at the time of the sale.
The transaction was conducted as a result of a Federal Bankruptcy Court order in case
no. BK-S-98-25704 FtCJ entered on October 6, 1999 as “Order Re: Application to Sell
Property Free and Clear of Liens, Charges, interests and Encumbrances and Pay
Commissions” (Exhibit 2). NTC conducted the transaction as ordered by the
Bankruptcy Court case no. BK-S-98-25704 RCJ.

9. During the course of the transaction, NTC requested a payoff from
Defendant NSB who held a deed of trust on the Property. A dispute arose between LCl
and NSB as to the actual amount of the payoff due to NSB. As a result of this dispute,
NTC held $48,995.28 in the escrow. NSB instructed NTC to hold these funds in
correspondence dated October 7, 1998 from its counsel (Exhibit 3). Counsel for LCl
acknowledged the withheld funds by way of correspondence dated December 15, 1998
(Exhibit 4).

10. On December 8, 1998 the lFtS made a demand on the funds held in
escrow (Exhibit 5). The Bankruptcy Court dismissed LCl’s bankruptcy on December 15,
1998 (Exhibit 6) but did order NTC to disburse a portion of the funds in order to close
the transaction. On April 9, 1999 NTC received yet another demand on the funds from
counsel on behalf of Defendant LARRY L. BERTSCH, Court Appointed Trustee in the
underlying Federal Criminal case no. CR-S-95-074-LDG against CHR|STENSEN
(Exhibit 7).

11. NTC never received an order from the court or any type of clear instruction
on how to disburse the remaining funds. NTC currently holds $59,802.71 (“FUNDS”) in
this escrow file.

12. Under the circumstances NTC is unable to determine to whom said

 

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FUNDS should be disbursed. NTC hereby requests the Court to instruct NTC how the
FUNDS should be disbursed.

13. NTC neither has, nor claims, any interest in the FUNDS (except for the
reimbursement of its fees, costs and expenses associated with these proceedings), and
has at all times been willing to pay the FUNDS to such person or persons as may be
legally entitled to receive the same. NTC hereby offers to bring the FUNDS into Court
at such time, in such amount, and under such conditions as the Court may order and
direct.

14. NTC has not colluded with any of the above named Defendants. NTC has
brought this Complaint |n interpleader to avoid being harassed and subjected to double
costs and liabilities.

15. lt has been necessary for NTC to employ the services of an attorney to
prosecute this action, and NTC is therefore entitled to an award of reasonable attorney’s
fees and costs incurred in connection herewith.

16. This action is brought pursuant to N.R.C.P. Rule 22, and N.R.S. 845A.177
as an Action in lnterpleader.

WHEREFORE, NTC respectfully prays forjudgment as follows: _

1. That the Court require the Defendants to interplead in and adjucate their
claims to the FUNDS;

2. That the Court enter its Order restraining the Defendants, their agents,
employees and attorneys, from commencing any claims against NTC, or its agents,
which involves the Funds;

3. That the Court authorize and direct NTC to pay into the Clerk of the Court
such amount of the Funds as the Court may determine;

4. That the Court award NTC its’ reasonable attorney’s fees and costs of suit

to be determined by the Court, and that said sum be paid out of the Funds; and

 

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5. For such other and further relief as the Court may deem proper.

y
DATED this 2 day of August, 2006.

/%/

Nl ' KR|NJAR|C, ESQ.

S ate Bar No. 3605

2500 N. Buffalo, Suite 150
Las Vegas, Nevada 89128
Attorney for Plaintiff
NEVADA TlTLE COMPANY

 

